       Case 3:19-cv-00692-MMD-WGC Document 96 Filed 11/24/21 Page 1 of 4



1    Peter Goldstein [SBN 6992]
     PETER GOLDSTEIN LAW CORP
2    peter@petergoldsteinlaw.com
     10161 Park Run Drive, Suite 150
3    Las Vegas, Nevada 89145
     Telephone:     (702) 474-6400
4    Facsimile:     (888) 400-8799

5    Attorney for Plaintiffs
     ROSA ESTER BRIZUELA, individually, and as
6    the Appointed Special Administrator of the
     Estate of Rolando Antonio Brizuela, Roland Brizuela
7    and Morgan Brizuela
8

9                                 UNITED STATES DISTRICT COURT

10                             FOR THE DISTRICT OF NEVADA (RENO)

11   ROSA ESTER BRIZUELA, individually, and                Case No. 3:19-cv-00692 -MMD WGC
     as the appointed special administrator of the
12                                                         STIPULATION AND ORDER TO EXTEND
     estate of ROLANDO ANTONIO BRIZUELA;
                                                           DATES FOR RESPONSE TO
13   ROLAND BRIZUELA; and MORGAN                           DEFENDANTS’ MOTION FOR SUMMARY
     BRIZUELA,                                             JUDGMENT
14
                                   Plaintiffs,             (First Request)
15

16          v.

17   CITY OF SPARKS; ELI MAILE, sued in his
     individual capacity as a Sparks Police Officer;
18   BRIAN SULLIVAN, sued in his individual
     capacity as a Sparks Police Officer; and DOES
19   3-10; inclusive,
20
                                   Defendants.
21

22

23          IT IS HEREBY STIPULATED AND AGREED between Plaintiffs, ROSA ESTER

24   BRIZUELA, individually, and as the appointed special administrator of the estate of ROLANDO

25   ANTONIO BRIZUELA, ROLAND BRIZUELA and MORGAN BRIZUELA (collectively

26   hereinafter “Plaintiffs”), and Defendants CITY OF SPARKS, ELI MAILE, and BRIAN SULLIVAN
27   (collectively hereinafter “Defendants”), by and through their counsel of record, that Plaintiffs’

28   deadline to respond to Defendants’ pending motion for summary judgment (Dkt. 91) is extended up


                                                       1
       Case 3:19-cv-00692-MMD-WGC Document 96 Filed 11/24/21 Page 2 of 4




1    to and including January 4, 2022, and Defendants shall not oppose Plaintiffs’ request to exceed the

2    30-page limit, up to 53 pages for their response. (Plaintiffs shall not oppose Defendants’ pending

3    request to exceed the 30-page limit, up to 53 pages for their pending motion for summary judgment;

4    provided that such non-opposition shall be conditioned upon Plaintiffs’ receiving the above-

5    mentioned deadline extension and leave to file a 53-page response.)

6           This request for an extension is made in good faith and joined by all the parties in this case.

7    The request is timely pursuant to LR 26-3, well in advance of any current deadline. Accordingly,

8    this extension will not delay this case. Moreover, since this request is a joint request, neither party

9    will be prejudiced.

10          DATES this 23rd day of November, 2021.

11    CITY OF SPARKS                                   PETER GOLDSTEIN LAW CORP
12
      By: /s/ Mariah Northington                       By: /s/ Peter Goldstein
13        Chester H. Adams                                 Peter Goldstein
          Wesley K. Duncan                                 Attorneys for Plaintiff
14        Brandon C. Sendall                               ROSA ESTER BRIZUELA, individually, and
          Barrack Potter                                   as the Appointed Special Administrator of
15        Mariah Northington
          Attorneys for Defendants                         the Estate of Rolando Antonio Brizuela,
16        CITY OF SPARKS, ELI MAILE                        Roland Brizuela and Morgan Brizuela
          and BRIAN SULLIVAN
17

18
19          IT IS SO ORDERED
20
            DATED this 24th        November
                       ___ day of ____________, 2021.
21

22

23
                                                  MIRANDA M. DU
24
                                                  CHIEF UNITED STATES DISTRICT JUDGE
25

26
27

28

                                                       2
       Case 3:19-cv-00692-MMD-WGC Document 96 Filed 11/24/21 Page 3 of 4




1                                      CERTIFICATE OF SERVICE

2           I am employed in the County of Clark, State of Nevada. I am over the age of eighteen years

3    and not a party to the within action; my business address is 10161 Run Park Drive, Suite 150, Las

4    Vegas, Nevada 89145.

5           I hereby certify that on this 23rd day of November, 2021, a true and correct copy of the

6    following document STIPULATION AND ORDER TO EXTEND TIME TO FILE RESPONSE

7    TO SUMMARY JUDGMENT AND EXCEED PAGE LIMIT(First Request) was served by

8    electronically filing with the Court’s CM/ECF electronic filing system to the following parties:

9           Chester H. Adams, Esq.
            Sparks City Attorney
10          Wesley K. Duncan, Esq.
            Chief Assistant City Attorney
11          Barrack Potter, Esq.
            Sparks Senior Assistant City Attorney
12          Brandon C. Sendall, Esq.
            Assistant City Attorney
13          Mariah Northington,
            Sparks Assistant City Attorney
14          P.O. Box 857
            Sparks, Nevada 89432-0857
15          Telephone:     (775) 353-2324
            Email: cadams@cityofsparks.us
16                 wduncan@cityofsparks.us
                   AttyCivilDiv@cityofsparks.us
17                 bsendall@cityofsparks.us
                   bpotter@cityofsparks.us
18                 mnorthington@cityofsparks.us
            Attorneys for Defendants
19

20
            I declare that I am employed in the office of a member of the bar of this Court at whose
21
     direction the service was made.
22

23                                                By:
                                                        An Employee of Peter Goldstein Law Corp
24

25

26
27

28

                                                        3
Case 3:19-cv-00692-MMD-WGC Document 96 Filed 11/24/21 Page 4 of 4
